      2:20-cv-02930-RMG          Date Filed 08/12/20       Entry Number 1        Page 1 of 36




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                 (CHARLESTON DIVISION)


WILLIAM ALLEN, on behalf of himself and   :
all others similarly situated,            :
                                          :
            Plaintiff,                    :                    CIVIL ACTION NO.: 2:20-cv-2930-RMG
                                          :
v.                                        :
                                          :
BLACKBAUD, INC.,                          :
                                          :
            Defendant.                    :
_________________________________________ :

                                CLASS ACTION COMPLAINT

       1.      Plaintiff, William Allen, individually and on behalf of all others similarly situated,

brings this action against Defendant Blackbaud, Inc. (“Blackbaud” or “Defendant”) to obtain

damages, restitution, and injunctive relief for the Class, as defined below, from Defendant.

Plaintiff makes the following allegations upon information and belief, except as to his own

actions, the investigation of his counsel, and the facts that are a matter of public record.

                                      NATURE OF THE ACTION

       2.      This class action arises out of the May of 2020, ransomware attack and data

breach (“Data Breach”) of several schools, healthcare, non-profit companies, and other

organizations (collectively “Clients”) whose data and servers were managed, maintained, and

secured by Blackbaud.      The Clients’ data and servers contained identifying, sensitive, and

personal data from students, patients, donors, and other individual users, including Plaintiff’s. As

a result of the Data Breach, Plaintiff and thousands of other Class Member users suffered

ascertainable losses in the form of out-of-pocket expenses and the value of their time reasonably

incurred to remedy or mitigate the effects of the attack.         Additionally, Plaintiff and Class

                                                  1
        2:20-cv-02930-RMG        Date Filed 08/12/20      Entry Number 1       Page 2 of 36




Members’ sensitive personal information—which was entrusted to Defendant, its officials and

agents—was compromised and unlawfully accessed due to the Data Breach.                 Information

compromised in the Data Breach included a copy of a subset of information retained by

Blackbaud, including name(s), addresses, phone numbers, and other personal information. True

and accurate copies of the notices of data breach emailed to Plaintiff (collectively “Notices”) are

attached hereto, and Defendant’s exemplar Notice is available on its website. 1 Contrary to the

representations in the Notices regarding the type of accessed information, it is believed based on

statements by Defendant’s Clients directing Class Members to monitor suspicious activity of

their credit and accounts, that Social Security Numbers, credit card numbers, bank account

numbers, and additional personally identifiable information (collectively “Private Information”)

may also have been compromised.

         3.     Plaintiff brings this class action lawsuit on behalf of those similarly situated, in

order to, (1) address Defendant’s inadequate safeguarding of Class Members’ Private

Information, which Defendant managed, maintained, and secured; (2) for failing to provide

timely and adequate notice to Plaintiff and other Class Members that their information had been

subject to the unauthorized access of an unknown third-party; (3) for failing to identify all

information that was accessed; and (4) for failing to provide Plaintiff and Class Members with

any redress for the Data Breach.

         4.     Defendant maintained and secured the Private Information in a reckless manner,

including, inter alia, failing to safeguard against ransomware attacks. In particular, the Private

Information was maintained on Defendant’s computer network in a condition vulnerable to

cyberattacks. Upon information and belief, the mechanism of the cyberattack and potential for



1
    https://www.blackbaud.com/securityincident (Last Accessed August 12, 2020).
                                                 2
        2:20-cv-02930-RMG       Date Filed 08/12/20       Entry Number 1      Page 3 of 36




improper disclosure of Plaintiff and Class Members’ Private Information was a known risk to

Defendant, and thus Defendant was on notice that failing to take steps necessary to secure the

Private Information from those risks left that property in a dangerous condition.

         5.     In addition, Defendant and their employees failed to properly monitor the

computer network and systems that housed the Private Information; failed to implement

appropriate policies to ensure secure communications; and failed to properly train employees

regarding ransomware attacks. Had Defendant properly monitored their network, security, and

communications, it would have discovered the cyberattack sooner or prevented it altogether. In

fact, Blackbaud has announced it has “already implemented changes to prevent this specific

issue from happening again.” 2 In other words, had these changes been in place previously, this

incident would not have happened and Plaintiff and Class Members’ Private Information would

not have been accessed.

         6.     Plaintiff and Class Members’ identities and Private Information are now at risk

because of Defendant’s negligent conduct as the Private Information that Defendant collected

and maintained was in the hands of data thieves. Defendant cannot reasonably maintain that the

data thieves destroyed the subset copy simply because Defendant paid the ransom and the data

thieves confirmed the copy was destroyed. In fact, the notices advise the affected individuals to

monitor their own credit, suspicious account activity, and notify the school or non-profit of

suspicious activity related to his or her credit. Despite this, Defendant has not offered any

manner of redress, including, inter alia, credit monitoring.

         7.     Armed with the Private Information accessed in the Data Breach, data thieves can

commit a variety of crimes including, e.g., opening new financial accounts in class members’



2
    https://www.blackbaud.com/securityincident (Last Accessed August 12, 2020).
                                                 3
      2:20-cv-02930-RMG           Date Filed 08/12/20      Entry Number 1        Page 4 of 36




names, taking out loans in class members’ names, using Plaintiff and Class Members’ names to

obtain medical services, using class members’ information to obtain government benefits, filing

fraudulent tax returns using class members’ information, obtaining driver’s licenses in class

members’ names, but with another person’s photograph, and giving false information to police

during an arrest.

        8.        As a result of the Data Breach, Plaintiff and Class Members have been exposed to

a heightened and imminent risk of fraud and identity theft. Plaintiff and Class Members, at their

own cost, must now and in the future closely monitor their financial accounts to guard against

identity theft.

        9.        Consequently, Plaintiff and Class Members will also incur out of pocket costs for,

e.g., purchasing credit monitoring services, credit freezes, credit reports, or other protective

measures to deter and detect identity theft.

        10.       By his Complaint, Plaintiff seeks to remedy these harms on behalf of himself and

all similarly-situated individuals, whose Private Information was accessed during the Data

Breach.

        11.       Plaintiff seeks remedies including, but not limited to, compensatory damages,

reimbursement of out-of-pocket costs, and injunctive relief including improvements to

Defendant’s data security systems, future annual audits, and adequate credit monitoring services

funded by Defendant.

        12.       Accordingly, Plaintiff brings this action against Defendant seeking redress for

their unlawful conduct, and asserting claims for: (i) negligence, (ii) intrusion upon seclusion, (iii)

negligence per se, (iv) breach of express contract, (v) breach of implied contract, and (vi)

violations of state data breach statutes.



                                                  4
      2:20-cv-02930-RMG          Date Filed 08/12/20       Entry Number 1        Page 5 of 36




                                              PARTIES

       13.     Plaintiff is a resident and citizen of Raleigh, Wake County, North Carolina.

       14.     Defendant Blackbaud is a Delaware corporation with its principal place of

business located on Daniel Island, Charleston County, South Carolina.

       15.     Defendant manages, maintains, and provides cybersecurity for the data obtained

by its clients who are, inter alia, schools and non-profit companies, including WakeMed

Foundation and Episcopal High School, which maintained Plaintiff’s Private Information.

                                 JURISDICTION AND VENUE

       16.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at least one

member of the Class, as defined below, is a citizen of a different state than Defendant, there are

more than 100 members of the Class, and the aggregate amount in controversy exceeds

$5,000,000 exclusive of interest and costs.

       17.     This Court has personal jurisdiction over this action because Defendant holds its

principal place of business in this District, has sufficient minimum contacts with this District and

has purposefully availed itself of the privilege of doing business in this District such that it could

reasonably foresee litigation being brought in this District.

       18.     Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because the only

Defendant resides in this District.




                                                  5
     2:20-cv-02930-RMG          Date Filed 08/12/20      Entry Number 1        Page 6 of 36




                                  DEFENDANT’S BUSINESS

       19.     Since originally incorporating in New York in 1982, 3 Blackbaud has become “the

world’s leading cloud software company powering social good.” This includes providing its

clients with “cloud software, services, expertise, and data intelligence…” It is a publically

traded company with clients that include “nonprofits, foundations, corporations, education

institutions, healthcare institutions, and the individual change agents who support them.” 4

       20.     In 2019, Blackbaud reported that it had “45,000 customers located in over 100

countries,” with a “total addressable market (TAM)… greater than $10 billion.” 5

       21.     In the ordinary course of doing business with Defendant’s clients, individuals are

regularly required to provide Defendant’s clients with sensitive, personal and private information

that is then stored, maintained, and secured by Defendant. This information includes or may

include:

                   •   Name, address, phone number and email address;

                   •   Date of birth;

                   •   Demographic information;

                   •   Social Security numbers;

                   •   Credit card account numbers;

                   •   Bank account numbers;

                   •   Educational history;

                   •   Healthcare information;


3
  https://investor.blackbaud.com/static-files/9cd70119-4e13-4d47-b068-3c228c580417 (Last
Accessed August 12, 2020).
4
  https://www.blackbaud.com/company (Last Accessed August 12, 2020).
5
  https://investor.blackbaud.com/static-files/9cd70119-4e13-4d47-b068-3c228c580417 (Last
Accessed August 12, 2020).
                                                  6
      2:20-cv-02930-RMG          Date Filed 08/12/20       Entry Number 1    Page 7 of 36




                   •   Insurance information and coverage;

                   •   Photo identification;

                   •   Employer information;

                   •   Donor contribution information; and

                   •   Other information that may be deemed necessary to provide care.

       22.     In its 2019 Annual Report, Blackbaud specifically addressed its known

susceptibility to cyberattacks. Specifically the report states,

       If the security of our software is breached, we fail to securely collect, store and
       transmit customer information, or we fail to safeguard confidential donor data,
       we could be exposed to liability, litigation, penalties and remedial costs and our
       reputation and business could suffer.

       Fundamental to the use of our solutions is the secure collection, storage and
       transmission of confidential donor and end user data and transaction data,
       including in our payment services. Despite the network and application security,
       internal control measures, and physical security procedures we employ to
       safeguard our systems, we may still be vulnerable to a security breach,
       intrusion, loss or theft of confidential donor data and transaction data, which
       may harm our business, reputation and future financial results. [Emphasis
       Added].

       Like many major businesses, we are, from time to time, a target of cyber-attacks
       and phishing schemes, and we expect these threats to continue. Because of the
       numerous and evolving cybersecurity threats, including advanced and persistent
       cyber-attacks, phishing and social engineering schemes, used to obtain
       unauthorized access, disable or degrade systems have become increasingly more
       complex and sophisticated and may be difficult to detect for periods of time,
       we may not anticipate these acts or respond adequately or timely... [Emphasis
       Added]…

       Further, the existence of vulnerabilities, even if they do not result in a security
       breach, may harm client confidence and require substantial resources to address,
       and we may not be able to discover or remedy such security vulnerabilities before
       they are exploited, which may harm our business, reputation and future financial
       results. 6



6
 https://investor.blackbaud.com/static-files/9cd70119-4e13-4d47-b068-3c228c580417 (Last
Accessed August 12, 2020).
                                                  7
     2:20-cv-02930-RMG          Date Filed 08/12/20      Entry Number 1        Page 8 of 36




       23.     Because of the highly sensitive and personal nature of the information Defendant

maintains, manages, and secures with respect to it clients and their users, Defendant has

acknowledged to their clients and users that this information will be comprehensively secured.

       24.     Blackbaud’s Privacy Policy North America (“Privacy Policy”) expressly applies

as follows:

       At Blackbaud, we are committed to protecting your privacy. This Policy applies
       to Blackbaud’s collection and use of personal data in connection with our
       marketing and provision of the Blackbaud Solutions, customer support and other
       services (collectively, the “Services”), for example if you are a customer, visit the
       website, interact with us at industry conferences, or work for a current or
       prospective customer of the Services.

       If you’re a constituent, supporter, patient or student of one of our customers, to
       which we provide the Services, your data will be used in accordance with that
       customer’s privacy policy. In providing the Services, Blackbaud acts as a service
       provider and thus, this Policy will not apply to constituents of our customers. 7

       25.     With regard to securing its constituents, supporters, patients or students of one of

Defendant’s customers, Defendant further represents with regard to the security of personal

information:

       We restrict access to personal information collected about you at our website to
       our employees, our affiliates’ employees, those who are otherwise specified in
       this Policy or others who need to know that information to provide the Services to
       you or in the course of conducting our business operations or activities. While no
       website can guarantee exhaustive security, we maintain appropriate physical,
       electronic and procedural safeguards to protect your personal information
       collected via the website. We protect our databases with various physical,
       technical and procedural measures and we restrict access to your information by
       unauthorized persons.

       We also advise all Blackbaud employees about their responsibility to protect
       customer data and we provide them with appropriate guidelines for adhering to
       our company’s business ethics standards and confidentiality policies. Inside
       Blackbaud, data is stored in password-controlled servers with limited access. 8

7
  https://www.blackbaud.com/company/privacy-policy/north-america (Last Accessed August 12,
2020).
8
  Id.
                                                8
      2:20-cv-02930-RMG          Date Filed 08/12/20      Entry Number 1        Page 9 of 36




        26.     Blackbaud has made additional commitments to the maintenance of student’s

private information. In April of 2015 with regard to its K-12 school providers, Defendant signed

a pledge to respect student data privacy to safeguard student information. The Student Privacy

Pledge, developed by the Future of Privacy Forum (FPF) and the Software & Information

Industry Association (SIIA), was created to “safeguard student privacy in the collection,

maintenance and use of personal information.” 9

        27.     In signing the Student Privacy Pledge, Blackbaud specifically represented to

students and parents of its K-12 school providers that it would, inter alia, (1) “[m]aintain a

comprehensive security program:” and (2) “[b]e transparent about collection and use of student

data.” 10

        28.     In further support of this representation and promise to student and parent users,

Travis Warrant, president of Blackbaud’s K-12 Private Schools Group, stated:

              Blackbaud is committed to protecting sensitive student data and security…
              The Pledge will better inform our customers, service providers and the
              general public of our dedication to protecting student privacy.” The Pledge
              details ongoing industry practices that meet (and in some cases, exceed) all
              federal requirements, and encourages service providers to more clearly
              articulate their data privacy practices. 11


        29.     Despite such representations and promises, Defendant failed to adequately secure

and protect numerous K-12 providers and thousands of students Private Information, by allowing

the Private Information to be copied and potentially used or sold at a later date.




9
  https://www.blackbaud.com/home/2015/04/22/blackbaud-signs-pledge-to-respect-student-data-
privacy (Last Accessed August 12, 2020).
10
   Id.
11
   Id.
                                                  9
     2:20-cv-02930-RMG           Date Filed 08/12/20     Entry Number 1     Page 10 of 36




       30.     Further, due to the Health Information Portability and Accountability Act

(HIPPA), Defendant had additional obligations to secure patient users’ information for

healthcare Clients.

       31.     Defendant has further failed Plaintiff and Class Members by failing to adequately

secure and protect their Private Information, by allowing the Private Information to be copied

and potentially used or sold at a later date.

       32.     Defendant further failed Plaintiff and Class Members by failing to adequately

notify them of the ransomware attack or provide any remedy other than late notice.

                         THE CYBERATTACK AND DATA BREACH

       33.     Prior to the ransomware attack, clients, constituents, supporters, patients, and

students provided sensitive and identifying Private Information to Blackbaud as part of, inter

alia, seeking education from K-12 school providers and universities; seeking healthcare from

healthcare providers; making donations to non-profit companies; and in other ways seeking

services through Blackbaud’s clients. When providing such information, these individuals had

the expectation that Defendant, as the manager and securer of this Private Information, would

maintain security against hackers and cyberattacks.

       34.     Defendant maintained Plaintiff and Class Members’ Private Information on a

shared network, server, and/or software.        Despite its own awareness of steady increases of

cyberattacks on health care, schools, and other facilities over the course of recent years,

Defendant did not maintain adequate security of Plaintiff and Class Members’ data, to protect

against hackers and cyberattacks.




                                                 10
       2:20-cv-02930-RMG        Date Filed 08/12/20     Entry Number 1       Page 11 of 36




         35.    According to its own statements, in May of 2020, Defendant discovered a

ransomware attack that attempted to “disrupt business by locking companies out of their own

data and servers.” 12 According to Defendant’s statements:

         After discovering the attack, our Cyber Security team—together with independent
         forensics experts and law enforcement—successfully prevented the cybercriminal
         from blocking our system access and fully encrypting files; and ultimately
         expelled them from our system. Prior to our locking the cybercriminal out, the
         cybercriminal removed a copy of a subset of data from our self-hosted
         environment. The cybercriminal did not access credit card information, bank
         account information, or social security numbers. Because protecting our
         customers’ data is our top priority, we paid the cybercriminal’s demand with
         confirmation that the copy they removed had been destroyed. Based on the nature
         of the incident, our research, and third party (including law enforcement)
         investigation, we have no reason to believe that any data went beyond the
         cybercriminal, was or will be misused; or will be disseminated or otherwise made
         available publicly… The subset of customers who were part of this incident have
         been notified and supplied with additional information and resources. We
         apologize that this happened and will continue to do our very best to supply help
         and support as we and our customers jointly navigate this cybercrime incident. 13

         36.    Upon information and belief, the ransomware attack began in February of 2020

and continued for approximately three months until it was stopped in May of 2020.

         37.    Although Defendant claims that social security numbers, credit card information,

or bank account information was not accessed, the Notices advise individuals whose Private

Information was accessed to, inter alia, “remain vigilent and [promptly] report suspicious

activity or suspected identify theft to the proper authorities…” Exhibit A. One Notice goes as far

as to refer those who identify suspicious activity to the United States Federal Trade

Commission’s Identify Theft webpage. Exhibit A (Episcopal High School Notice).




12
     https://www.blackbaud.com/securityincident (Last Accessed August 12, 2020).
13
     Id.
                                                11
       2:20-cv-02930-RMG        Date Filed 08/12/20       Entry Number 1        Page 12 of 36




         38.    Defendant did not have a sufficient process or policies in place to prevent such

cyberattack, which is evident by its own statements that it has “ already implemented changes to

prevent this specific issue from happening again.” 14

         39.    The acknowledged types of data which “may” have been exposed included

“name, title, date of birth, spouse, phone numbers, and email addresses…” Exhibit A (WakeMed

Foundation).

         40.    Defendant cannot reasonably rely on the word of data thieves or “certificate of

destruction” issued by those same thieves, that the copied subset of any Private Information was

destroyed.     Further, upon information and belief, Defendant cannot be assured that Social

Security numbers, Bank Account numbers, and Credit Card numbers were not also accessed and

retained by the data thieves, or else it would not have advised its clients to advise affected

individuals to monitor accounts for suspicious activity. Despite such advise, Defendant has

failed to offer its clients or their users any remedy, including credit monitoring.

         41.    Despite having knowledge of the attack since at least May of 2020, it is believed

Defendant did not notify its affected clients until July or August of 2020 of the potentially

compromised data.

         42.    Defendant had obligations created by federal law, contracts, industry standards,

common law, and privacy representations made to Plaintiff and Class Members, to keep their

Private Information confidential and to protect it from unauthorized access and disclosure.

         43.    Plaintiff and Class Members provided their Private Information to Defendant with

the reasonable expectation and mutual understanding that Defendant would comply with their

obligations to keep such information confidential and secure from unauthorized access.



14
     https://www.blackbaud.com/securityincident (Last Accessed August 12, 2020).
                                                 12
     2:20-cv-02930-RMG          Date Filed 08/12/20      Entry Number 1      Page 13 of 36




       44.     Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks and/or data breaches in its client’s various industries

preceding the date of the breach.

       45.     Indeed, cyberattacks have become so notorious that the Federal Bureau of

Investigation (“FBI”) and U.S. Secret Service have issued a warning to potential targets so they

are aware of, and prepared for, a potential attack. 15

       46.     The increase in such attacks, and attendant risk of future attacks, was widely

known to the public and to anyone in Defendant’s industry, including by Defendant’s own

admissions in its 2019 Annual Report.

       47.     Defendant breached its obligations to Plaintiff and Class Members and/or was

otherwise negligent and reckless because it failed to properly maintain and safeguard

Defendant’s computer systems and data. Defendant’s unlawful conduct includes, but is not

limited to, the following acts and/or omissions:

               a. Failing to maintain an adequate data security system to reduce the risk
                  of data breaches and cyber-attacks;

               b. Failing to adequately protect patients’ Private Information;

               c. Failing to properly monitor their own data security systems for
                  existing intrusions;

               d. Failing to timely notify its Clients, Plaintiff, and Class Members of the
                  data breach; and

               e. In other such ways to be discovered.




15
   https://www.law360.com/consumerprotection/articles/1220974/fbi-secret-service-warn-of-
targeted-ransomware (emphasis added) (Last Accessed August 12, 2020).
                                                   13
     2:20-cv-02930-RMG           Date Filed 08/12/20      Entry Number 1       Page 14 of 36




         48.     As the result of Defendant’s failure to take certain measures to prevent the attack

until after the attack occurred, Defendant negligently and unlawfully failed to safeguard Plaintiff

and Class Members’ Private Information.

         49.     Accordingly, as outlined below, Plaintiff and Class Members’ daily lives were

severely disrupted. Now Plaintiff and Class Members face an increased risk of fraud and identity

theft.

      CYBERATTACKS AND DATA BREACHES CAUSE DISRUPTION AND PUT
     CONSUMERS AT AN INCREASED RISK OF FRAUD AND IDENTIFY THEFT

         50.     Cyberattacks and data breaches of medical facilities, schools, and non-profit

entities are especially problematic because of the disruption they cause to the overall daily lives

of patients, students, donors, and other individuals affected by the attack.

         51.     The United States Government Accountability Office released a report in 2007

regarding data breaches (“GOA Report”) finding that victims of identity theft will face

“substantial costs and time to repair the damage to their good name and credit record.” 16

         52.     The FTC recommends that identity theft victims take several steps to protect their

personal and financial information after a data breach, including contacting one of the credit

bureaus to place a fraud alert (consider an extended fraud alert that lasts for seven years if

someone steals their identity), reviewing their credit reports, contacting companies to remove

fraudulent charges from their accounts, placing a credit freeze on their credit, and correcting their

credit reports. 17




16
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
However, the Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June
2007, https://www.gao.gov/new.items/d07737.pdf (last visited August 12, 2020) (“GAO
Report”).
17
   See https://www.identitytheft.gov/Steps (last visited August 12, 2002).
                                                 14
     2:20-cv-02930-RMG          Date Filed 08/12/20      Entry Number 1       Page 15 of 36




         53.   Identity thieves use stolen Private Information such as Social Security numbers

for a variety of crimes, including credit card fraud, phone or utilities fraud, and bank/finance

fraud.

         54.   Identity thieves can also use Social Security numbers to obtain a driver’s license

or official identification card in the victim’s name, but with the thief’s picture; use the victim’s

name and Social Security number to obtain government benefits; or file a fraudulent tax return

using the victim’s information. In addition, identity thieves may obtain a job using the victim’s

Social Security number, rent a house or receive medical services in the victim’s name, and may

even give the victim’s personal information to police during an arrest resulting in an arrest

warrant being issued in the victim’s name. A study by Identity Theft Resource Center shows the

multitude of harms caused by fraudulent use of personal and financial information: 18




                             [GRAPHIC ON FOLLOWING PAGE]




18
   “Credit Card and ID Theft Statistics” by Jason Steele, 10/24/2017, at:
https://www.creditcards.com/credit-card-news/credit-card-security-id-theft-fraud-statistics-
1276.php (last visited August 12, 2020).
                                                15
     2:20-cv-02930-RMG          Date Filed 08/12/20      Entry Number 1       Page 16 of 36




       55.     Private Information is a valuable property right. 19 Its value is axiomatic,

considering the value of Big Data in corporate America and the consequences of cyber thefts

include heavy prison sentences. This obvious risk to reward analysis illustrates that Private

Information has considerable market value.

       56.     It must also be noted there may be a substantial time lag – measured in years --

between when harm occurs versus when it is discovered, and also between when Private

Information and/or financial information is stolen and when it is used. According to the U.S.

Government Accountability Office, which conducted a study regarding data breaches:

       [L]aw enforcement officials told us that in some cases, stolen data may be held
       for up to a year or more before being used to commit identity theft. Further, once
       stolen data have been sold or posted on the Web, fraudulent use of that
19
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4
(2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching
a level comparable to the value of traditional financial assets.”) (citations omitted).
                                                16
     2:20-cv-02930-RMG         Date Filed 08/12/20      Entry Number 1       Page 17 of 36




       information may continue for years. As a result, studies that attempt to measure
       the harm resulting from data breaches cannot necessarily rule out all future harm.

See GAO Report, at p. 29.

       57.     Private Information and financial information are such valuable commodities to

identity thieves that once the information has been compromised, criminals often trade the

information on the “cyber black-market” for years.

       58.     There is a strong probability that entire batches of stolen information have been

dumped on the black market and are yet to be dumped on the black market, meaning Plaintiff

and Class Members are at an increased risk of fraud and identity theft for many years into the

future. Thus, as the Notices advise, Plaintiff and Class Members must vigilantly monitor their

financial and medical accounts for many years to come. See Exhibit A.

                     PLAINTIFF AND CLASS MEMBERS’ DAMAGES

       59.     To date, Defendant has done nothing to provide Plaintiff and Class Members with

relief for the damages they have suffered as a result of the Data Breach including, but not limited

to, the costs of credit monitoring, as well as costs and loss of time they incurred because of the

stolen data.

       60.     Plaintiff and Class Members have been damaged by the compromise of their

Private Information in the Data Breach.

       61.     Plaintiff William Allen’s Private Information was compromised as a direct and

proximate result of the Data Breach. While the compromise of Ms. Allen’s information was

known as early as May of 2020, she did not receive Notices until August 7, 2020 and August 11,

2020. Exhibit A.

       62.     Like Plaintiff, other Class Members’ Private Information was compromised as a

direct and proximate result of the Data Breach.

                                                  17
     2:20-cv-02930-RMG           Date Filed 08/12/20       Entry Number 1        Page 18 of 36




        63.     As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have been placed at an imminent, immediate, and continuing increased risk of harm

from fraud and identity theft.

        64.     As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have been forced to expend time dealing with the effects of the Data Breach.

        65.     Plaintiff and Class Members face substantial risk of out-of-pocket fraud losses

such as loans opened in their names, medical services billed in their names, tax return fraud,

utility bills opened in their names, credit card fraud, and similar identity theft.

        66.     Plaintiff and Class Members face substantial risk of being targeted for future

phishing, data intrusion, and other illegal schemes based on their Private Information as potential

fraudsters could use that information to more effectively target such schemes to Plaintiff and

Class Members.

        67.     Plaintiff and Class Members may also incur out-of-pocket costs for protective

measures such as credit monitoring fees, credit report fees, credit freeze fees, and similar costs

directly or indirectly related to the Data Breach.

        68.     Plaintiff and Class Members also suffered a loss of value of their Private

Information when it was acquired by cyber thieves in the Data Breach. Numerous courts have

recognized the propriety of loss of value damages in related cases.

        69.     Plaintiff and Class Members have spent and will continue to spend significant

amounts of time to monitor their financial, student, and medical accounts and records for misuse.

        70.     Plaintiff and Class Members have suffered or will suffer actual injury as a direct

result of the Data Breach. Like Plaintiff, many victims suffered ascertainable losses in the form




                                                  18
     2:20-cv-02930-RMG          Date Filed 08/12/20     Entry Number 1        Page 19 of 36




of out-of-pocket expenses and the value of their time reasonably incurred to remedy or mitigate

the effects of the Data Breach relating to:

               a. Finding fraudulent charges;

               b. Canceling and reissuing credit and debit cards;

               c. Purchasing credit monitoring and identity theft prevention;

               d. Addressing their inability to withdraw funds linked to compromised accounts;

               e. Taking trips to banks and waiting in line to obtain funds held in limited
                  accounts;

               f. Placing “freezes” and “alerts” with credit reporting agencies;

               g. Spending time on the phone with or at a financial institution to dispute
                  fraudulent charges;

               h. Contacting financial institutions and closing or modifying financial accounts;

               i. Resetting automatic billing and payment instructions from compromised
                  credit and debit cards to new ones;

               j. Paying late fees and declined payment fees imposed as a result of failed
                  automatic payments that were tied to compromised cards that had to be
                  cancelled; and

               k. Closely reviewing and monitoring bank accounts and credit reports for
                  unauthorized activity for years to come.

       71.     Moreover, Plaintiff and Class Members have an interest in ensuring that their

Private Information, which is believed to remain in the possession of Defendant, is protected

from further breaches by the implementation of security measures and safeguards, including, but

not limited to, making sure that the storage of data or documents containing personal and

financial information is not accessible online and that access to such data is password-protected.

       72.     Further, as a result of Defendant’s conduct, Plaintiff and Class Members are

forced to live with the knowledge that their Private Information—which contains the most



                                                19
     2:20-cv-02930-RMG           Date Filed 08/12/20     Entry Number 1       Page 20 of 36




intimate details about a person’s life, may be disclosed to the entire world, thereby subjecting

them to embarrassment and depriving them of their right to privacy.

       73.     As many of the purchasers of Private Information do not utilize the information

for years, Plaintiff and Class Members are forced for long periods of time to endure the fear of

whether their information will be used.

       74.     As a direct and proximate result of Defendant’s actions and inactions, Plaintiff

and Class Members have suffered anxiety, emotional distress, and loss of privacy, and are at an

increased risk of future harm.

                                 CLASS ACTION ALLEGATIONS

       75.     Plaintiff brings this action on behalf of himself and on behalf of all other persons

similarly situated (“the Class”).

       76.     Plaintiff proposes the following Class definition, subject to amendment as

appropriate:

       All persons whose Private Information was compromised in the February through
       May      of   2020     Data     Breach     described   by     Defendant     at
       www.blackbaud.com/securityincident

Excluded from the Class are Defendant’s officers, directors, and employees; any entity in which

Defendant has a controlling interest; and the affiliates, legal representatives, attorneys,

successors, heirs, and assigns of Defendant. Excluded also from the Class are members of the

judiciary to whom this case is assigned, their families and members of their staff.

       77.     Numerosity. The members of the Class are so numerous that joinder of all of

them is impracticable. While the exact number of Class members is unknown to Plaintiff at this

time, based on information and belief, the class consists of approximately tens of thousands of

persons whose data was compromised in Data Breach.



                                                20
     2:20-cv-02930-RMG         Date Filed 08/12/20       Entry Number 1    Page 21 of 36




       78.     Commonality. There are questions of law and fact common to the Class, which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

                   a. Whether Defendant unlawfully used, maintained, lost, or disclosed
                      Plaintiff’s and Class Members’ Private Information;

                   b. Whether Defendant failed to implement and maintain reasonable
                      security procedures and practices appropriate to the nature and
                      scope of the information compromised in the Data Breach;

                   c. Whether Defendant’s data security systems prior to and during the
                      Data Breach complied with applicable data security laws and
                      regulations;

                   d. Whether Defendant’s data security systems prior to and during the
                      Data Breach were consistent with industry standards;

                   e. Whether Defendant owed a duty to Class Members to safeguard
                      their Private Information;

                   f. Whether Defendant breached their duty to Class Members to
                      safeguard their Private Information;

                   g. Whether computer hackers obtained Class Members’ Private
                      Information in the Data Breach;

                   h. Whether Defendant knew or should have known that their data
                      security systems and monitoring processes were deficient;

                   i. Whether Plaintiff and Class Members suffered legally cognizable
                      damages as a result of Defendant’s misconduct;

                   j. Whether Defendant’s conduct was negligent;

                   k. Whether Defendant’s conduct was per se negligent;

                   l. Whether Defendant’s acts, inactions, and practices complained of
                      herein amount to acts of intrusion upon seclusion under the law;

                   m. Whether Defendant failed to provide notice of the Data Breach in a
                      timely manner, and;




                                                21
     2:20-cv-02930-RMG          Date Filed 08/12/20     Entry Number 1       Page 22 of 36




                   n. Whether Plaintiff and Class Members are entitled to damages,
                      treble damages, civil penalties, punitive damages, and/or injunctive
                      relief.

       79.     Typicality. Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s information, like that of every other Class Member, was compromised in the Data

Breach.

       80.     Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of the members of the Class.       Plaintiff’s Counsel are competent and

experienced in litigating class actions.

       81.     Predominance. Defendant has engaged in a common course of conduct toward

Plaintiff and Class Members, in that all the Plaintiff and Class Members’ data was stored on the

same computer systems and unlawfully accessed in the same way. The common issues arising

from Defendant’s conduct affecting Class Members, as described supra, predominate over any

individualized issues. Adjudication of these common issues in a single action has important and

desirable advantages of judicial economy.

       82.     Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a class action, most class

members would likely find that the cost of litigating their individual claim is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

class members would create a risk of inconsistent or varying adjudications with respect to

individual class members, which would establish incompatible standards of conduct for

Defendant. In contrast, the conduct of this action as a class action presents far fewer management




                                               22
     2:20-cv-02930-RMG             Date Filed 08/12/20    Entry Number 1        Page 23 of 36




difficulties, conserves judicial resources and the parties’ resources, and protects the rights of

each class member.

          83.   Defendant has acted on grounds that apply generally to the Class as a whole, so

that class certification, injunctive relief, and corresponding declaratory relief are appropriate on a

class-wide basis.


                                    FOR A FIRST CAUSE OF ACTION
                                               NEGLIGENCE
                                (On Behalf of Plaintiff and All Class Members)

          84.   Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 83 above,

as if fully set forth herein.

          85.   Defendant’s Clients required Plaintiff and Class Members to submit non-public

personal information in order to obtain medical, educational, and other services. Defendant had

a duty to its Clients, Plaintiff, and Class Members to securely maintain the Private Information

collected.

          86.   By accepting the duty to maintain and secure this data in its computer property,

and sharing it and using it for commercial gain, Defendant had a duty of care to use reasonable

means to secure and safeguard its computer property—and Plaintiff’s and Class Members’

Private Information held within it—to prevent disclosure of the information, and to safeguard the

information from theft. Defendant’s duty included a responsibility to implement processes by

which it could detect a breach of its security systems in a reasonably expeditious period of time

and to give prompt notice to those affected in the case of a data breach and/or ransomware

attack.

          87.   Defendant owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to


                                                  23
     2:20-cv-02930-RMG          Date Filed 08/12/20      Entry Number 1        Page 24 of 36




ensure that its systems and networks, and the personnel responsible for them, adequately

protected the Private Information.

       88.     Defendant’s duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendant and its Clients and Users, which is

recognized by Defendants Policy Notice North America, as well as laws and regulations.

Defendant was in a position to ensure that its systems were sufficient to protect against the

foreseeable risk of harm to Class Members from a ransomware attack and/or data breach.

       89.     Defendant had a specific duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the

unfair practice of failing to use reasonable measures to protect confidential data.

       90.     Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect confidential Private Information.

       91.     Defendant breached its duties, and thus was negligent, by failing to use reasonable

measures to protect Class Members’ Private Information. The specific negligent acts and

omissions committed by Defendant include, but are not limited to, the following:

       a.      Failing to adopt, implement, and maintain adequate security measures to

               safeguard Class Members’ Private Information;

       b.      Failing to adequately monitor the security of their networks and systems;

       c.      Failure to periodically ensure that their email system had plans in place to

               maintain reasonable data security safeguards;

       d.      Allowing unauthorized access to Class Members’ Private Information;



                                                 24
     2:20-cv-02930-RMG           Date Filed 08/12/20     Entry Number 1       Page 25 of 36




        e.      Failing to detect in a timely manner that Class Members’ Private Information had

                been compromised; and

        f.      Failing to timely notify Class Members about the Ransomware Attack so that they

                could take appropriate steps to mitigate the potential for identity theft and other

                damages.

        92.     It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class Members’ Private Information would result in injury to Class Members. Further, the

breach of security was reasonably foreseeable given the known high frequency of ransomware

attacks and data breaches in the Clients’ various industries.

        93.     It was therefore foreseeable that the failure to adequately safeguard Class

Members’ Private Information would result in one or more types of injuries to Class Members.

        94.     Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

        95.     Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately

provide adequate credit monitoring to all Class Members.

                       FOR A SECOND CAUSE OF ACTION
        WRONGFUL INTRUSION INTO PRIVATE AFFAIRS/INVASION OF PRIVACY
                    (On Behalf of Plaintiff and All Class Members)

        96.     Plaintiff repeats and re-alleges each and every allegation contained in Paragraphs

1 through 95, as if fully set forth herein.

        97.     The State of South Carolina recognizes the tort of wrongful intrusion, and the

South Carolina Supreme Court has indicated that it consists of a “wrongful intrusion into one‘s



                                                 25
     2:20-cv-02930-RMG         Date Filed 08/12/20     Entry Number 1        Page 26 of 36




private activities, in such manner as to outrage or cause mental suffering, shame, or humiliation

to a person of ordinary sensibilities.” O‘Shea v. Lesser, 416 S.E.2d 629, 633 (S.C. 1992)

(quoting Meetze v. The Associated Press, 95 S.E.2d 606 (S.C. 1956)).

       98.    Plaintiff and Class Members had a reasonable expectation of privacy, and

freedom from exposure, in the Private Information Defendant mishandled.

       99.    Defendant’s conduct as alleged above intruded upon Plaintiff and Class Members’

private aspects under common law.

       100.   Defendant’s intrusion was substantial and unreasonable enough to be legally

cognizable, in that the reasonable expectation of persons of normal and ordinary sensibilities,

including Plaintiff, is that the Private Information disclosed to Defendant’s Clients would be

properly maintained and secured.

       101.   By failing to keep Plaintiff’s and Class Members’ Private Information safe, and

by misusing and/or disclosing said information to unauthorized parties for unauthorized use,

Defendant intentionally invaded Plaintiff’s and Class Members’ privacy by:

       a.     Intentionally and substantially intruding into Plaintiff’s and Class Members’

              private affairs in a manner that identifies Plaintiff and Class Members and that

              would be highly offensive and objectionable to an ordinary person; and

       b.     Intentionally publicizing private facts about Plaintiff and Class Members, which

              is highly offensive and objectionable to an ordinary person; and

       c.     Intentionally causing anguish or suffering to Plaintiff and Class Members.

       102.   Defendant knew that an ordinary person in Plaintiff’s or a Class Member’s

position would consider Defendant’s intentional actions highly offensive and objectionable.




                                               26
     2:20-cv-02930-RMG            Date Filed 08/12/20   Entry Number 1        Page 27 of 36




        103.    Defendant invaded Plaintiff’s and Class Members’ right to privacy and intruded

into Plaintiff’s and Class Members’ private affairs by intentionally misusing and/or disclosing

their Private Information without their informed, voluntary, affirmative, and clear consent.

        104.    Defendant intentionally concealed from Plaintiff and Class Members an incident

that misused and/or disclosed their Private information without their informed, voluntary,

affirmative, and clear consent.

        105.    As a proximate result of such intentional misuse and disclosures, Plaintiff’s and

Class Members’ reasonable expectations of privacy in their Private Information was unduly

frustrated and thwarted. Defendant’s conduct amounted to a substantial and serious invasion of

Plaintiff’s and Class Members’ protected privacy interests causing anguish and suffering such

that an ordinary person would consider Defendant’s intentional actions or inaction highly

offensive and objectionable.

        106.    In failing to protect Plaintiff’s and Class Members’ Private Information, and in

intentionally misusing and/or disclosing their Private Information, Defendant acted with

intentional malice and oppression and in conscious disregard of Plaintiff’s and Class Members’

rights to have such information kept confidential and private. Plaintiff, therefore, seeks an award

of damages on behalf of herself and the Class.

                                 FOR A THIRD CAUSE OF ACTION
                                BREACH OF EXPRESS CONTRACT
                             (On Behalf of Plaintiff and All Class Members)

        107.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 106

above, as if fully set forth herein.




                                                 27
     2:20-cv-02930-RMG          Date Filed 08/12/20    Entry Number 1         Page 28 of 36




       108.    Plaintiff and members of the Class allege that they were the direct or third-party

beneficiaries of valid and enforceable express contracts, with Defendant (including, inter alia,

Privacy Policy North America).

       109.    In fact, Plaintiff’s Privacy Policy North America expressly extends to any

“constituent, supporter, patient or student of one of [Blackbaud’s] customers…” 20

       110.    The valid and enforceable express contracts that Plaintiff, Class Members, and

Defendant’s Clients entered into with Defendant include Defendant’s promise to protect Private

Information given to Defendant’s Clients and otherwise maintained and secured by Defendant.

       111.     Under these express contracts, Defendant promised and were obligated to protect

Plaintiff’s and the Class Members’ Private Information. In exchange, Defendant’s Clients,

Plaintiff, and members of the Class agreed to pay money for these services.

       112.    The protection of Plaintiff’s and Class Members’ Private Information were

material aspects of these contracts.

       113.    At all relevant times, Defendant expressly represented in its Privacy Policy North

America as follows:

       While no website can guarantee exhaustive security, we maintain appropriate
       physical, electronic and procedural safeguards to protect your personal
       information collected via the website. We protect our databases with various
       physical, technical and procedural measures and we restrict access to your
       information by unauthorized persons. We also advise all Blackbaud employees
       about their responsibility to protect customer data and we provide them with
       appropriate guidelines for adhering to our company’s business ethics standards
       and confidentiality policies.


       114.    Defendant’s express representations, including, but not limited to, express

representations found in its Privacy Policy, formed an express contract requiring Defendant to

20
  https://www.blackbaud.com/company/privacy-policy/north-america (Last Accessed August
12, 2020).
                                               28
     2:20-cv-02930-RMG          Date Filed 08/12/20      Entry Number 1        Page 29 of 36




implement data security adequate to safeguard and protect the privacy of Plaintiff’s and Class

Members’ Private Information.

         115.   Consumers of healthcare and education, as well as non-profit donors, value their

privacy, the privacy of their dependents, and the ability to keep their Private Information

associated with healthcare, education, and other institutions private. To customers such as

Plaintiff and Class Members, maintenance and security of Private Information that does not

adhere to industry standard data security protocols to protect Private Information is

fundamentally less useful and less valuable than such services that adhere to industry-standard

data security. Plaintiff and Class Members would not have given Defendant’s Clients and

Defendants their Private Information, and otherwise entered into these contracts with Defendant

and/or its Clients as a direct or third-party beneficiary without an understanding that their Private

Information would be safeguarded and protected.

         116.   A meeting of the minds occurred, as Plaintiff and members of the Class provided

their Private Information to Defendant and/or its affiliated Clients, and expected protection of

their Private Information.

         117.   Plaintiff and Class Members performed their obligations under the contract,

including when they paid for services provided by Defendants’ Clients or otherwise donated

money.

         118.   Defendant materially breached its contractual obligation to protect the Private

Information Defendant gathered when the information was accessed or exfiltrated by

unauthorized personnel as part of the Data Breach.

         119.   Defendant materially breached the terms of these express contracts, including, but

not limited to, the terms stated in the relevant Privacy Policy. Defendant did not “maintain



                                                 29
     2:20-cv-02930-RMG          Date Filed 08/12/20      Entry Number 1       Page 30 of 36




appropriate physical, electronic and procedural safeguards to protect your personal information,”

“protect [its] databases with various physical, technical and procedural measures and [we]

restrict access to your information by unauthorized persons,” or otherwise adequately train

employees.



       120.    Defendant did not comply with industry standards, or otherwise protect Plaintiff’s

and the Class Members’ Private Information, as set forth above.

       121.    The Data Breach was a reasonably foreseeable consequence of Defendant’s

actions in breach of these contracts.

       122.    As a result of Defendant’s failure to fulfill the data security protections promised

in these contracts, Plaintiff and Class Members did not receive the full benefit of the bargain, and

instead received services that were of a diminished value to that described in the contracts.

Plaintiff and Class Members therefore were damaged in an amount at least equal to the

difference in the value of the services with data security protection they paid for and the services

they received or provided.

       123.    Had Defendant disclosed that its security was inadequate or that it did not adhere

to industry-standard security measures, the Plaintiff, the Class Members, or any reasonable

person would not have accepted or purchased services from Defendant and/or their Clients which

required providing Private Information.

       124.    As a direct and proximate result of the Data Breach, Plaintiff and Class Members

have been harmed and have suffered, and will continue to suffer, actual damages and injuries,

including without limitation the release, disclosure, and publication of their Private Information,

the loss of control of their Private Information, the imminent risk of suffering additional damages



                                                30
     2:20-cv-02930-RMG             Date Filed 08/12/20    Entry Number 1     Page 31 of 36




in the future, out-of-pocket expenses, and the loss of the benefit of the bargain they had struck

with Defendant.

        125.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

                                   FOR A FOURTH CAUSE OF ACTION
                                    BREACH OF IMPLIED CONTRACT
                                (On Behalf of Plaintiff and All Class Members)

        126.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 125 above,

as if fully set forth herein.

        127.    When Plaintiff and Class Members provided their Private Information to

Defendant and Defendant’s Clients in exchange for Defendant and Defendant’s Clients’ services,

they entered into implied contracts with Defendant pursuant to which Defendant agreed to

reasonably protect such information.

        128.    Defendant solicited and invited Class Members to provide their Private

Information as part of Defendant’s regular business practices, including through its Privacy

Policy. Plaintiff and Class Members accepted Defendant’s offers and provided their Private

Information to Defendant.

        129.    In entering into such implied contracts, Plaintiff and Class Members reasonably

believed and expected that Defendant’s data security practices complied with relevant laws and

regulations, and were consistent with industry standards.

        130.    Plaintiff and Class Members accepted service from, and paid money to

Defendant’s Clients which was conferred upon Defendant, and through which Plaintiff and Class

Members reasonably believed and expected that Defendant would use part of those funds to

maintain adequate data security. Defendant failed to do so.



                                                  31
     2:20-cv-02930-RMG             Date Filed 08/12/20    Entry Number 1     Page 32 of 36




        131.    Plaintiff and Class Members would not have entrusted their Private Information to

Defendant in the absence of the implied contract between them and Defendant to keep their

information reasonably secure. Plaintiff and Class Members would not have entrusted their

Private Information to Defendant in the absence of their implied promise to monitor its computer

systems and networks to ensure that it adopted reasonable data security measures.

        132.    Plaintiff and Class Members fully and adequately performed their obligations

under the implied contracts with Defendant.

        133.    Defendant breached its implied contracts with Class Members by failing to

safeguard and protect their Private Information.

        134.    As a direct and proximate result of Defendant’s breaches of the implied contracts,

Class Members sustained damages as alleged herein.

        135.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

        136.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen their data security systems and monitoring procedures; (ii)

submit to future annual audits of those systems and monitoring procedures; and (iii) immediately

provide adequate credit monitoring to all Class Members.

                                    FOR A FIFTH CAUSE OF ACTION
                                          NEGLIGENCE PER SE
                                (On Behalf of Plaintiff and All Class Members)

        137.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 82, above

as if fully set forth herein.




                                                  32
     2:20-cv-02930-RMG          Date Filed 08/12/20     Entry Number 1       Page 33 of 36




       138.    Pursuant to the Federal Trade Commission Act (15 U.S.C. § 45), Defendant had a

duty to provide fair and adequate computer systems and data security practices to safeguard

Plaintiff’s and Class Members’ Private Information.

       139.    Pursuant to the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), Defendant had a

duty to protect the security and confidentiality of Plaintiff’s and Class Members’ Private

Information.

       140.    Defendant breached its duties to Plaintiff and Class Members under the Federal

Trade Commission Act and the Gramm-Leach-Bliley Act by failing to provide fair, reasonable,

or adequate computer systems and data security practices to safeguard Plaintiff’s and Class

Members’ Private Information.

       141.    Defendant’s failure to comply with applicable laws and regulations constitutes

negligence per se.

       142.    But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and Class Members, Plaintiff and Class Members would not have been injured.

       143.    The injury and harm suffered by Plaintiff and Class Members was the reasonably

foreseeable result of Defendant’s breach of its duties. Defendant knew or should have known

that it was failing to meet its duties, and that Defendant’s breach would cause Plaintiff and Class

Members to experience the foreseeable harms associated with the exposure of their Private

Information.

       144.    As a direct and proximate result of Defendant’s negligent conduct, Plaintiff and

Class Members have suffered injury and are entitled to compensatory, consequential, and

punitive damages in an amount to be proven at trial.




                                                33
     2:20-cv-02930-RMG           Date Filed 08/12/20    Entry Number 1       Page 34 of 36




                               FOR A SIXTH CAUSE OF ACTION
                        VIOLATION OF STATE DATA BREACH STATUTES
                           (On Behalf of Plaintiff and All Class Members)

        145.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 145 above,

as if fully set forth herein.

        146.    Defendant owns, licenses and/or maintains computerized data that includes

Plaintiff’s and Class Members’ Private Information.

        147.    Defendant’s conduct, as alleged above, violated the data breach statutes of South

Carolina, including, S.C. Code § 1-11-490 (2008) and/or S.C. Code § 39-1-90 (2009) (the “State

Data Breach Acts”).

        148.    Defendant was required, but failed, to implement and maintain reasonable

security procedures and practices appropriate to the nature and scope of the information

compromised in the cyber security incident described herein.

        149.    The Data Breach constituted a “breach of the security system” within the meaning

of the State Data Breach Acts.

        150.    The information compromised in the Data Breach constituted “personal

identifying information” within the meaning of the State Data Breach Acts.

        151.    The State Data Breach Acts require disclosure of data breaches “in the most

expedient time possible and without unreasonable delay….”

        152.    Defendant violated the State Data Breach Acts by unreasonably delaying

disclosure of the Data Breach to Plaintiff and other Class Members, whose Private Information

was, or was reasonably believed to have been, acquired by an unauthorized person.

        153.    Upon information and belief, no law enforcement agency instructed Defendant

that notification to Plaintiff and Class Members would impede a criminal investigation.



                                                34
     2:20-cv-02930-RMG          Date Filed 08/12/20      Entry Number 1        Page 35 of 36




       154.    As a result of Defendant’s violation of the State Data Breach Acts, Plaintiff and

Class Members incurred damages as alleged herein.

       155.    Plaintiff, individually and on behalf of the Class, seek all remedies available

under the State Data Breach Acts, including, but not limited to: (a) actual damages suffered by

Class Members as alleged above; (b) statutory damages for Defendant’s willful, intentional,

and/or reckless conduct; (c) equitable relief; and (d) reasonable attorneys’ fees and costs.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows:

           a) For an Order certifying this action as a class action and appointing Plaintiff and

               her Counsel to represent the Class;

           b) For equitable relief enjoining Defendant from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and

               Class Members’ Private Information, and from refusing to issue prompt, complete

               and accurate disclosures to Plaintiff and Class Members;

           c) For equitable relief compelling Defendant to utilize appropriate methods and

               policies with respect to consumer data collection, storage, and safety, and to

               disclose with specificity the type of Private Information compromised during the

               Data Breach;

           d) For equitable relief requiring restitution and disgorgement of the revenues

               wrongfully retained as a result of Defendant’s wrongful conduct;

           e) Ordering Defendant to pay for not less than seven years of credit monitoring

               services for Plaintiff and the Class;




                                                 35
   2:20-cv-02930-RMG         Date Filed 08/12/20       Entry Number 1          Page 36 of 36




         f) For an award of actual damages, compensatory damages, statutory damages, and

            statutory penalties, in an amount to be determined, as allowable by law;

         g) For an award of punitive damages, as allowable by law;

         h) For an award of attorneys’ fees and costs, and any other expense, including expert

            witness fees;

         i) Pre- and post-judgment interest on any amounts awarded; and

         j) Such other and further relief as this court may deem just and proper.

                                 JURY TRIAL DEMAND

                    Plaintiff demands a jury trial on all issues so triable.

Dated: August 12, 2020                                Respectfully submitted,

                                                      WHITFIELD BRYSON LLP

                                                      /s/ Harper Todd Segui
                                                      Harper Todd Segui
                                                      Federal ID No. 10841
                                                      PO Box 1483
                                                      Mount Pleasant, SC 29465
                                                      Phone: 919-600-5000
                                                      Fax: 919-600-5035
                                                      Email: harper@whitfieldbryson.com

                                                      Scott C. Harris*
                                                      Matthew E. Lee*
                                                      Erin J. Ruben*
                                                      900 W. Morgan Street
                                                      Raleigh, NC 27603
                                                      T: 919-600-5000
                                                      Fax: 919-600-5035
                                                      Email: scott@whitfieldbryson.com
                                                              matt@whitfieldbryson.com
                                                              erin@whitfieldbryson.com




                                              36
